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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF TEXAS
                                 AUSTIN DIVISION

____________________________________
                                               §
UNITED STATES OF AMERICA,                      §
                                               §
                       Plaintiff,              §
v.                                             §
                                               §       Civil No. 1:21-cv-796
THE STATE OF TEXAS,                            §
                                               §
                       Defendant.              §


 UNITED STATES’ OPPOSED MOTION FOR EXPEDITED BRIEFING SCHEDULE
  ON ITS EMERGENCY MOTION FOR A TEMPORARY RESTRAINING ORDER

        The United States respectfully moves this Court to enter an expedited briefing schedule on its

Emergency Motion for a Temporary Restraining Order. In support of this motion, the Government

states as follows:

        1.      On September 9, 2021, the United States filed its complaint in this case against the

State of Texas, seeking a declaratory judgment that Texas’s Senate Bill 8, 87th Leg., Reg. Sess. (Tex.

2021) (“S.B. 8”) (to be codified at Tex. Health & Safety Code §§ 171.203(b), 171.204(a)) is invalid,

null, and void, as well as preliminary and permanent injunctive relief prohibiting any and all

enforcement of S.B. 8 by the State. Dkt. 1, Compl., Prayer for Relief.

        2.      Given the near-unavailability of constitutionally permitted abortions in Texas since

S.B. 8 went into effect fifteen days ago, the United States determined that obtaining emergency relief

was necessary. Therefore, on September 14, 2021, the United States filed its Emergency Motion for

a Temporary Restraining Order (“TRO”) or Preliminary Injunction. The United States’ emergency

motion seeks to enjoin the effect of S.B. 8 on numerous legal grounds, including that S.B. 8 was

enacted in violation of the Fourteenth Amendment and the Supremacy Clause and that S.B. 8 prevents
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the very individuals it injures from vindicating their rights through the ordinary process of judicial

review.

          3.      Pursuant to Local Rule CV-7(G), earlier today, undersigned counsel conferred with

counsel for the State of Texas via email and phone about a briefing schedule for the United States’

request for an emergency TRO, and counsel for the State indicated that “Texas disagrees that

emergency consideration is required.” Counsel for Texas expressed a willingness to agree to an

expedited schedule for the United States’ preliminary injunction motion, but the parties did not reach

an agreement.

          4.      After the parties conferred, this Court entered a scheduling order on the United States’

motion for a preliminary injunction. Dkt. 12. Following entry of the Court’s order, the undersigned

again reached out to counsel for the State suggesting a briefing schedule specifically for the request

for a TRO or an agreement to the State’s previously suggested expedited preliminary-injunction

schedule. Counsel indicated the State opposes our motion to set a different schedule from that entered

by the Court.

          5.      In light of the current situation in Texas, the United States respectfully submits that

this Court should hold a TRO hearing on an expedited basis. The United States’ emergency motion

highlights extensive evidence that, since going into effect, S.B. 8 has deprived women in the State of

their constitutional right to seek a pre-viability abortion. Because providers in the State are adhering

to S.B. 8, “the vast majority of women seeking abortions in Texas are being turned away.” Dkt. 6-1

at 8. Providers in Texas confirmed that many patients have already been forced to travel hundreds

and sometimes thousands of miles to obtain an abortion out of state. Id. This includes a minor who

was raped by a family member and had to travel eight hours from Galveston to Oklahoma in order to

obtain an abortion. Id. And for the women who cannot make such a trip—because of costs,
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immigration-related restrictions on their travel, or work, family, or childcare responsibilities—the

impact of S.B. 8 is even more acute. Id. at 8-9.

        6.        At bottom, S.B. 8 has thus far succeeded in depriving women of their constitutional

rights while preventing women and providers from successfully seeking an injunction of enforcement

of this plainly unconstitutional law. Indeed, one clinic attested that without “court ordered relief in

the next couple of weeks, S.B. 8 will shutter most if not all of the remaining abortion clinics in Texas.” Dkt.

6-6 at 10. Emergency relief is necessary to ensure that, in the weeks prior to a preliminary injunction

hearing, the State cannot continue to disregard the Constitution and further endanger the operations

of abortion providers in the State.

        7.        In light of the irreparable harm the United States has identified, the United States

requests the following expedited schedule for its emergency motion for a TRO:

                  a.      State of Texas opposition due Monday, September 20, 2021 at 12 p.m.

                  b.      Hearing on the United States’ Emergency Motion for a Temporary Restraining

             Order on Tuesday, September 21, 2021 subject to the Court’s schedule.

        8.        Under this proposal, the Court could then set a briefing schedule for the United States’

motion for a preliminary injunction following resolution of the United States’ motion for a TRO.

        WHEREFORE, the United States respectfully requests that this Court enter the proposed

briefing schedule for the United States’ Emergency Motion for a Temporary Restraining Order.

Dated: September 15, 2021                                  Respectfully submitted,

                                                           BRIAN M. BOYNTON
                                                           Acting Assistant Attorney General

                                                           BRIAN D. NETTER
                                                           Deputy Assistant Attorney General

                                                           MICHAEL H. BAER
                                                           Counsel to the Acting Assistant Attorney
                                                           General, Civil Division
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                                                        ALEXANDER K. HAAS
                                                        Director, Federal Programs Branch

                                                        JACQUELINE COLEMAN SNEAD
                                                        Assistant Branch Director

                                                        DANIEL SCHWEI
                                                        Special Counsel

                                                        /s/ Lisa Newman
                                                        Lisa Newman (TX Bar No. 24107878)
                                                        James R. Powers
                                                        Joshua M. Kolsky
                                                        Kuntal Cholera
                                                        Christopher D. Dodge
                                                        Cody T. Knapp
                                                        Olivia Hussey Scott
                                                        Trial Attorneys
                                                        U.S. Department of Justice
                                                        Civil Division, Federal Programs Branch
                                                        1100 L Street, N.W.
                                                        Washington, D.C. 20005
                                                        Tel: (202) 514-5578
                                                        lisa.n.newman@usdoj.gov

                                                        Counsel for the United States




                               CERTIFICATE OF CONFERENCE

          I certify that I conferred via email with counsel for the State of Texas regarding the relief

requested in this application. Counsel for the State indicated that the State is opposed to the requested

relief.

                                                                /s/ Lisa Newman
                                                                Lisa Newman



                                   CERTIFICATE OF SERVICE
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       I certify that a copy of this filing was emailed to Kenneth Paxton, Attorney General for the

State of Texas, and Brent Webster, the First Assistant to the Texas Attorney General. I further certify

that parties will also be served pursuant to Rule 5(b) of the Federal Rules of Civil Procedure.

                                                               /s/ Lisa Newman
                                                               Lisa Newman
